        Case 17-23658-GLT                       Doc 65        Filed 10/05/22 Entered 10/05/22 10:26:42                     Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              RICHARD M RITENOUR


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-23658GLT




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  LAKEVIEW LOAN SERVICING LLC                                                     2-2

 Last 4 digits of any number you use to identify the debtor's account                         5   3   3   7

 Property Address:                             143 MAIN ST
                                               BENTLEYVILLE PA 15314




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $    11,206.44

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $    11,206.44

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $    11,206.44



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $582.32
         The next postpetition payment is due on                11 / 1 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     RICHARD M RITENOUR                                               Case number   (if known)   17-23658GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    10/05/2022


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     RICHARD M RITENOUR                                          Case number   (if known)   17-23658GLT
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                              Amount
MORTGAGE ARR. (Part 2 (b))
01/25/2019   1106258    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              434.12
03/25/2019   1112800    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              370.36
04/26/2019   1116097    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              185.18
05/24/2019   1119496    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              193.22
06/25/2019   1122888    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              193.22
07/29/2019   1126329    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              586.38
08/27/2019   1129800    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              199.66
10/24/2019   1136437    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              383.63
11/25/2019   1139904    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              189.20
12/23/2019   1143287    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              189.20
01/28/2020   1146748    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              576.34
02/25/2020   1150270    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              190.82
03/23/2020   1153752    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              190.82
04/27/2020   1157212    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              175.54
05/26/2020   1160551    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              160.26
06/26/2020   1163684    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              530.50
07/29/2020   1166811    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              160.26
08/25/2020   1169885    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              160.26
09/28/2020   1172973    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              160.26
10/26/2020   1176062    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              547.39
11/24/2020   1179140    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              171.52
12/21/2020   1182095    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              171.52
01/13/2021   1179140    LAKEVIEW   LOAN SERVICING LLC          CANCELLED CHECK TO CREDITOR/PRINCIPLE                     -171.52
01/13/2021   1183570    LAKEVIEW   LOAN SERVICING LLC          PREWRITTEN CHECK TO CREDITOR/PRINCIPLE                     171.52
01/25/2021   1185059    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              751.74
04/26/2021   1194723    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              376.15
05/25/2021   1197861    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              178.97
06/25/2021   1201039    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              178.97
07/26/2021   1204249    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              223.19
08/26/2021   1207372    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              223.19
09/24/2021   1210493    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              223.19
10/25/2021   1213570    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              605.89
11/22/2021   1216609    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              208.07
12/23/2021   1219666    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              208.07
01/26/2022   1222739    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              208.07
02/23/2022   1225632    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              208.07
03/25/2022   1228578    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              208.07
04/26/2022   1231602    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              588.70
05/25/2022   1234635    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              198.36
06/27/2022   1237659    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              198.36
07/26/2022   1240612    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              198.36
08/24/2022   1243512    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              101.36
                                                                                                                       11,206.44

MORTGAGE REGULAR PAYMENT (Part 3)
02/23/2018   1071162    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                            2,586.99
03/28/2018   1074355    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              596.07
04/24/2018   1077596    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              601.74
05/25/2018   1080852    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              604.79
06/22/2018   1083998    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              606.62
07/26/2018   1087210    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              911.52
08/28/2018   1090423    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              608.49
09/25/2018   1093554    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              608.81
10/29/2018   1096802    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              605.75
11/27/2018   1099941    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              605.79
12/21/2018   1103054    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              677.02
01/25/2019   1106258    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              698.53
02/25/2019   1109510    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              382.70
03/25/2019   1112800    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              777.74
04/26/2019   1116097    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              580.22
05/24/2019   1119496    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              580.22
06/25/2019   1122888    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              580.22
07/29/2019   1126329    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              580.22

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Debtor 1     RICHARD M RITENOUR                                          Case number   (if known)   17-23658GLT
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
08/27/2019   1129800    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
09/24/2019   1133112    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               389.94
10/24/2019   1136437    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               770.50
11/25/2019   1139904    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
12/23/2019   1143287    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
01/28/2020   1146748    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
02/25/2020   1150270    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
03/23/2020   1153752    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
04/27/2020   1157212    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
05/26/2020   1160551    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
06/26/2020   1163684    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
07/29/2020   1166811    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
08/25/2020   1169885    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
09/28/2020   1172973    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
10/26/2020   1176062    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
11/24/2020   1179140    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
12/21/2020   1182095    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               580.22
01/13/2021   1179140    LAKEVIEW   LOAN SERVICING LLC          CANCELLED CHECK TO CREDITOR/CONTINUING DEBT-580.22
01/13/2021   1183570    LAKEVIEW   LOAN SERVICING LLC          PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT580.22
02/22/2021   1188175    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               751.74
03/26/2021   1191460    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               751.74
04/26/2021   1194723    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               751.46
05/25/2021   1197861    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.77
06/25/2021   1201039    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.77
07/26/2021   1204249    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.77
08/26/2021   1207372    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.77
09/24/2021   1210493    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.77
10/25/2021   1213570    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.77
11/22/2021   1216609    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.61
12/23/2021   1219666    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.61
01/26/2022   1222739    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.61
02/23/2022   1225632    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.61
03/25/2022   1228578    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               572.61
04/26/2022   1231602    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               582.32
05/25/2022   1234635    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               582.32
06/27/2022   1237659    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               582.32
07/26/2022   1240612    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               582.32
08/24/2022   1243512    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               591.82
09/27/2022   1246375    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               582.32
                                                                                                        35,115.21




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

RICHARD M RITENOUR
143 MAIN STREET
BENTLEYVILLE, PA 15314

CHRISTIAN M RIEGER ESQ**
LAW OFFICE OF CHRISTIAN M RIEGER
2403 SIDNEY ST STE 214
PITTSBURGH, PA 15203

LAKEVIEW LOAN SERVICING LLC
C/O M & T BANK
ATTN TRUSTEE PAYMENT CTR
PO BOX 1288
BUFFALO, NY 14240-1288

M & T BANK
PO BOX 840
BUFFALO, NY 14240

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




10/5/22                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
